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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )      No. 1:18-CR-00041 JAR
                                            )
CORY HUTCHESON,                             )
                                            )
                      Defendant.            )


                    GOVERNMENT’S RESPONSE TO PRESENTENCE
                           INVESTIGATION REPORT

       Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Gwendolyn Carroll and Lindsay

McClure-Hartman, Assistant United States Attorneys for said District, and states that it accepts

and has no objections to the Presentence Investigation Report prepared by Ryan D. Wilke, Senior

U.S. Probation Officer.




                                            Respectfully submitted,

                                            JEFFREY B. JENSEN
                                            UNITED STATES ATTORNEY


                                            /s/ Lindsay McClure-Hartman
                                            GWENDOLYN CARROLL, #4657003NY
                                            LINDSAY MCCLURE-HARTMAN, #66070MO
                                            Assistant United States Attorney
                                            111 South 10th Street, Room 20.333
                                            St. Louis, Missouri 63102
                                            (314) 539-2200
   Case: 1:18-cr-00041-JAR Doc. #: 63 Filed: 04/23/19 Page: 2 of 2 PageID #: 207


                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2019, the foregoing was filed electronically with the
 Clerk of the Court to be served by operation of the Court’s electronic filing system upon the
 following:


Marc Johnson
Attorney for Defendant

Ryan D. Wilke
Senior U.S. Probation
Officer


                                              /s/ Lindsay McClure-Hartman
                                              Lindsay McClure-Hartman, #66070MO
                                             ASSISTANT UNITED STATES ATTORNEY
